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                 UNITED STATES DISTRICT COURT
                    DISTRICT OF NEW JERSEY


                                        :
UNITED STATES of AMERICA                          O R D E R
                                        :

           v.                           :     Case No.       9cr215-7(DMC)

TAJARA BARNES                           :




           This matter having come before the Court on a motion by
Pretrial Services, Elizabeth Ausion, appearing, to revoke

defendants bail conditions pending sentence, and Eric Moran,

AUSA, appearing on behalf of the United States, and A. Paul

Condon, Esq. Appearing for defendant, and

           The court having heard arguments of counsel on the

record December 6, 2010; and

           For good cause shown;

           It is on this 6th day of December 2010                ORDERED that

the defendants bail is hereby revoked, and defendant is hereby

remanded to the custody of the U.S. Marshal pending sentence
scheduled for January 31, 2011 at 11:30a.m.




                                         /S/ DENNIS M. CAVANAUGH
                                        DENNIS M. CAVANAUGH , U.S.D.J.
